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“US. DISTRICT COURT - N.D. OF ALY.

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June 29, 2010

Hon. Andrew T. Baxter

United States District Magistrate Judge
United States District Court

Northern Division of New York

100 S. Clinton Street

P.O. Box 7367

Syracuse, New York 13261-7367

i Lawrence K. Baerman, Clerk - Syracuse

Re: Joseph Viscomi and First Destiny Real Estate, Inc. v. Excelsior
Ins. Co.
Case No.: 5:08-cv-327-NPM-ATB
Our File No.: 62264-PD-3531

Dear Judge Baxter:
This is merely to inform the Court that plaintiffs have now fully paid the
agreed contingent settlement amount of $54,000.00 to my client, defendant Excelsior

Insurance Company.

Very truly yours,

MURAQSTORM, PLLC

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RAM/me

cc: Mr. Joseph Viscomi
Excelsior Insurance Company
